Case 1:04-cv-01302-.]DT-STA Document 4 Filed 06/10/05 Page 1 of 2 Page|D 1

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IN THE UNITED STATES DISTRlCT COURT 05 j//

FOR THE WESTERN DISTRlCT OF TENNESSEE 041 / \ pp
EASTERN DIVISION j.(»;,`;r 474/9 c
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UNITED STATES OF AMERlCA,

Plaintiff,

‘ - Civ. No. 04-1302-T/An
Civ. No. OS-lOIG-T/An
Crim. No. 02-10007-l-T

VS.

JACK RAY AUsTrN,

Defendant.

 

ORDER ADMINISTRATIVELY CLOSING DUPLICATIVE CASE

 

Defendant Jacl< Ray Austin, Bureau of Prisons inmate registration number 18877-076, an

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v

inmate at the Federal Correctional lnstitution in Memphis, filed a pro Se motion pursuant to 28
U.S.C. § 2255 on January 24, 2005, which Was docketed as case number 05-1016-T/An. This
motion is identical to a previous motion filed by this defendant on November 17, 2004, Which was
docketed as case number 04-1302FT/An.

Accordingly, it is OR_DERED that case number 05-1016-T/An be administratively closed
lt is further ORDERED that a copy of the motions filed in case number 05-1016-T/An, as well as
a copy of this order, be docketed in case number 04-1302-T/An. All further documents filed in
connection with either action shall be docketed only in case number 04-1302-T/An.

tr is so oRDERED this cl day OfJune 2005

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D TODD
UN ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case l:O4-CV-01302 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

lack Ray Austin

FEDERAL CORRECTIONAL INSTITUTION
18877-076

P. O. BoX 34550

l\/lemphis7 TN 38134--055

Honorable J ames Todd
US DISTRICT COURT

